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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

INALFA ROOF SYSTEMS, INC.,

       Plaintiff,                                   Civil Action No. 22-CV-10871

vs.                                                 HON. BERNARD A. FRIEDMAN

PNA MOLDING INC.,

       Defendant.



                          TEMPORARY RESTRAINING ORDER

       This matter is presently before the Court on the motion of Plaintiff, INALFA ROOF

SYSTEMS, INC. (“INALFA”), for a temporary restraining order and for preliminary injunction.

(ECF No. 2). The Court, having reviewed the motion, its accompanying brief and declaration,

the Verified Complaint, and being otherwise sufficiently advised, believes that the motion should

be granted.

       IT IS THEREFORE ORDERED that:

       1.      A temporary restraining order is issued immediately. No security is required.

       2.      PNA MOLDING, INC. (“PNA”), and all those acting in concert with it, are

temporarily enjoined and restrained, directly or indirectly, from refusing to supply to INALFA

under the purchase contract(s) all parts needed by INALFA in the manufacture of roof systems to

be sold and installed in Ford, GM, and Stellantis vehicles. Production of the parts shall resume

immediately and the parts shall be sold at the last governing price paid by INALFA.
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         3.      This temporary restraining order is binding upon PNA, its employees, officers,

agents, attorneys, and those in active concert or participation with PNA that receive actual notice

of this Order.

         4.      This Order shall remain in full force and effect for a period of fourteen days

pursuant to Fed. R. Civ. P. 65.

         5.      Defendant shall appear on May 4, 2022, at 2:00 p.m. and show cause why this

Order should not be converted into a Preliminary Injunction.

         IT IS SO ORDERED.

                                                 s/Bernard A. Friedman
Dated:     April 24, 2022                        Bernard A. Friedman
           Detroit, Michigan                     Senior United States District Judge




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